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 6
     Attorneys for Plaintiff
 7   BANAFSHEH AKHLAGHI,
     on behalf of herself and all others
 8   similarly situated
 9
10                          UNITED STATES DISTRICT COURT
11
                          NORTHERN DISTRICT OF CALIFORNIA
12
13
      BANAFSHEH AKHLAGHI, on behalf )           Case No.: 4:19-cv-3754
14    of herself and all others similarly )
      situated,                           )     CLASS ACTION
15
                                          )
16                         Plaintiff,     )     COMPLAINT FOR BENEFITS,
17
                                          )     DETERMINATION OF RIGHTS
             v.                           )     AND BREACH OF FIDUCIARY
18                                        )     DUTY UNDER ERISA
19
      CIGNA CORPORATION; CIGNA            )
      HEALTH AND LIFE INSURANCE           )
20    COMPANY,                            )
21
                                          )
                          Defendants.     )
22    _________________________________
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 1         Plaintiff, Banafsheh Akhlaghi (“Plaintiff”), on behalf of herself and all others
 2   similarly situated, herein sets forth the allegations of her Complaint against Defendants
 3   Cigna Corporation and Cigna Health and Life Insurance Company.
 4                                    INTRODUCTION
 5         1.     Defendants Cigna Corporation and Cigna Health and Life Insurance
 6   Company ("hereinafter "Cigna") is in the business of insuring and/or administering
 7   health insurance plans (both fully insured and self-insured), most of which are
 8   employer-sponsored and governed by the Employee Retirement Income Security Act
 9   of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq. (“Cigna plans”).
10         2.     With respect to all Cigna plans, Cigna Health and Life Insurance
11   Company serves as the claims administrator, responsible for determining whether
12   claims are covered under Cigna plans (both fully insured and self-insured) and
13   effectuating any resulting benefit payment. Cigna Corporation aids Cigna Health
14   and Life Insurance Company in its administrative duties by, among other things,
15   participating with Cigna Health and Life Insurance Company in the development of
16   coverage guidelines, including "Medical Coverage Policy No. 0531, Surgical
17   Treatments for Lymphedema and Lipedema." Cigna Corporation also collaborates
18   with Cigna Health and Life Insurance on the types of claims that will be approved or
19   denied and assists it in carrying out its various other administrative duties. As such,
20   Defendants have acted as ERISA fiduciaries with respect to all Cigna plans,
21   including Plaintiff's plan.
22         3.     Plaintiff brings this action to address Cigna’s practice of improperly
23   denying claims for surgical treatment of lipedema made by patients under Cigna plans.
24   As set forth below, Cigna denies claims for the surgical treatment of lipedema on the
25   basis it is excluded from coverage as "experimental, investigational or unproven."
26   Lipedema is a rare condition that is chronic, progressive, painful, and immobilizing. It
27   involves an abnormal buildup of adipose (fat) tissue, usually in the lower body but
28   sometimes in the arms. Often misdiagnosed as obesity or lymphedema, lipedema


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 1   primarily affects women. Surgical treatment of lipedema is not unproven. It is the only
 2   available therapy for this condition and has been the subject of various studies that
 3   show its beneficial effect.
 4                                 JURISDICTION AND VENUE
 5         4.     This action is brought under 29 U.S.C. §§ 1132(a), (e), (f) and (g) as it
 6   involves claims by Plaintiff for employee benefits under employee benefit plans
 7   regulated and governed by ERISA. Subject matter jurisdiction is predicated under
 8   these code sections as well as 28 U.S.C. § 1331 as this action involves a federal
 9   question.
10         5.     The Court has personal jurisdiction over Defendants because ERISA
11   provides for nationwide service of process, and each Defendant has minimum contacts
12   with the Cigna States. 29 U.S.C. § 1132(e)(2).
13         6.     The claims of Plaintiff and the putative class arise out of policies
14   Defendants issued, administered, and/or implemented in this District. Thus, venue is
15   proper in this judicial district pursuant to 29 U.S.C. § 1132(e)(2) (setting forth special
16   venue rules applicable to ERISA actions).
17                                    THE PARTIES
18         7.     Plaintiff was at all relevant times covered under an employee benefit plan
19   regulated by ERISA, pursuant to which Plaintiff is entitled to health care benefits.
20   Plaintiff resides in Alameda County which is located within this District.
21         8.     Cigna is a corporation with its principal place of business in Bloomfield,
22   Connecticut. Cigna administers and makes benefit determinations related to ERISA
23   health care plans around the country.
24                             SUBSTANTIVE ALLEGATIONS
25         A.     Lipedema.
26         9.     Lipedema is a rare condition that is chronic, progressive, painful, and
27   immobilizing. It involves an abnormal buildup of adipose (fat) tissue, usually in the
28   lower body but sometimes in the arms. Often misdiagnosed as obesity or lymphedema,


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 1   lipedema primarily affects women. Symptoms of lipedema include disproportionately
 2   large, column-like legs, and disproportionate hips, stomach or buttocks. As lipedema
 3   progresses, patients become increasingly heavy in the lower body and expanding fat
 4   cells interfere with the pathways of lymphatic vessels. It is estimated that lipedema
 5   affects nearly 11% of the adult female population.
 6         10.       One of the most common misconceptions about patients with lipedema is
 7   that they suffer, instead, from lifestyle- or diet-induced obesity. Although some
 8   patients with lipedema may also have obesity and although the obesity may influence
 9   the lipedema subcutaneous adipose tissue, lipedema is a mutually exclusive diagnosis
10   and should be considered as such. Unlike obesity, the adipocyte hypertrophy and
11   swelling associated with lipedema are resistant to change with diet and exercise or
12   bariatric surgery and caloric restriction.
13         11.       There are four stages of lipedema: Stage 1 in which there is a normal skin
14   surface with enlarged hypodermal adipose tissue; Stage 2 with indentations of the skin
15   and underlying adipose tissue similar to a mattress containing larger mounds of
16   adipose tissue that grow as non-encapsulated masses, lipomas and angiolipomas; Stage
17   3 where large extrusions of tissue (skin and adipose tissue) cause gross deformations
18   especially on the thighs and around the knees. Lymphedema, where lymph fluid
19   develops dependently on the feet and hands increasing cranially due to dysfunctional
20   lymphatics, can develop during any stage of lipedema, and is called lipolymphedema
21   or Stage 4 lipedema.
22         12.       As lipedema progresses, it causes pain, mobility problems, joint disorders,
23   and other physical problems that prevent patients from engaging in the activities of
24   daily living.
25         13.       The only effective treatment for the pain and immobility caused by
26   lipedema is a specialized form of liposuction. This is different from the techniques
27   used for cosmetic liposuction. During this procedure, a solution is injected into the
28   targeted areas. The solution contains epinephrine to help reduce bleeding, bruising, and


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 1   swelling and lidocaine as a local anesthetic. The surgeon uses a gentle, vacuum-like
 2   instrument to remove excess fat. The removal of this tissue allows patients to gain
 3   mobility, reduce or eliminate pain, and lead a productive life.
 4          B.    Cigna’s wrongful denial of lipedema surgery claims.
 5          14.   Cigna plans exclude from coverage those medical services that Cigna
 6   considers "experimental, investigational or unproven.”
 7          15.   Cigna maintains and uses internal Medical Coverage Policies that set forth
 8   Cigna's coverage position on certain treatments. Cigna employees use these coverage
 9   positions when making coverage determinations on certain treatments.
10          16.   To adjudicate claims for the treatment of lipedema, Cigna uses "Medical
11   Coverage Policy No. 0531, Surgical Treatments for Lymphedema and Lipedema."
12   That Medical Coverage Policy provides in pertinent part:
13
            Liposuction for the treatment of lipedema is considered experimental,
14          investigational or unproven.
15          17.   Cigna has followed Medical Coverage Policy No. 0531 and has denied
16   claims for specialized liposuction to treat advanced lipedema in arms, legs, and other
17   body parts on the basis the treatment is “experimental, investigational or unproven."
18          18.   Contrary to Cigna’s position, specialized liposuction to treat the
19   symptoms of lipedema is not experimental, investigational or unproven. It is the only
20   available therapy for this condition and has been the subject of various studies that
21   show its beneficial effect. It is routinely performed at Standford University Medical
22   Center and other leading medical facilities.
23          C.    Cigna’s denial of Banafsheh Akhlaghi’s claim.
24          19.   At all relevant times, Plaintiff Banafsheh Akhlaghi was covered under an
25   ERISA health plan through her employer.
26          20.   Plaintiff was diagnosed with Stage 3 lipedema. Her advanced lipedema
27   has caused her pain, immobility, and other problems.
28   ///


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 1         21.    Plaintiff requested that Cigna provide coverage for specialized liposuction
 2   to treat her advanced lipedema. Plaintiff's physician submitted information to Cigna
 3   setting forth her diagnosis and the proposed treatment.
 4         22.    On April 15, 2019, Cigna sent a written communication to Plaintiff and
 5   her physician denying coverage for the proposed surgery. Cigna cited Medical
 6   Coverage Policy No. 0531 and stated "there is not enough scientific evidence that
 7   shows the safety and/or effectiveness of liposuction for the treatment of lipedema
 8   because it is considered experimental/investigational/unproven."
 9         23.    Plaintiff appealed this decision.
10         24.    On June 12, 2019, Cigna denied the appeal. Cigna stated that:
11         As previously noted in the denial letter you received, liposuction for the
           treatment of lipedema is considered to be experimental/investigational/
12         unproven. The quality and quantity of data in the current peer-reviewed
           scientific medical literature is inadequate to establish the clinical utility,
13         safety and efficacy of this treatment for lipedema. The requested service
           is therefore excluded from coverage under your medical benefit plan as
14         experimental/investigational/unproven.
15         Guideline used: Medical Coverage Policy-0531 Surgical Treatment for
           Lymphedema and Lipedema
16
           25.    Specialized liposuction is the only effective treatment for the pain,
17
     immobility and other problems that result from advanced lipedema. In coming to its
18
     "experimental, investigational or unproven" position, Cigna has ignored clinical
19
     evidence and various studies demonstrating that the surgery is effective and necessary
20
     for the treatment of the disabling effects of lipedema. It is routinely performed at
21
     Stanford University Medical Center and other leading medical facilities.
22
                               CLASS ACTION ALLEGATIONS
23
           26.    Plaintiff brings this action on behalf of herself and all others similarly
24
     situated as a class action pursuant to Federal Rules of Civil Procedure Rule 23.
25
     Pursuant to Rule 23(b)(1) and (b)(2), Plaintiff seeks certification of the following class:
26
           All persons covered under ERISA health plans, self-funded or fully
27         insured, that are administered by Cigna and whose claims for specialized
           liposuction for treatment of their lipedema were denied as "experimental,
28         investigational or unproven" pursuant to Medical Coverage Policy No.
           0531.

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 1            27.   Plaintiff and the class members reserve the right under Federal Rule of
 2   Civil Procedure Rule 23(c)(l)(C) to amend or modify the class to include greater
 3   specificity, by further division into subclasses, or by limitation to particular issues.
 4            28.   This action has been brought and may be properly maintained as a class
 5   action under the provisions of Federal Rules of Civil Procedure Rule 23 because it
 6   meets the requirements of Rule 23(a) and Rule 23(b)1 and (b)(2).
 7            A.    Numerosity.
 8            29.   The potential members of the proposed class as defined are so numerous
 9   that joinder of all the members of the proposed class is impracticable. While the
10   precise number of proposed class members has not been determined at this time,
11   Plaintiff is informed and believes that there are a substantial number of individuals
12   covered under Cigna plans who have been similarly affected.
13            B.    Commonality.
14            30.   Common questions of law and fact exist as to all members of the proposed
15   class.
16            C.    Typicality.
17            31.   The claims of the named Plaintiff are typical of the claims of the proposed
18   class. Plaintiff and all members of the class are similarly affected by Cigna’s wrongful
19   conduct.
20            D.    Adequacy of representation.
21            32.   Plaintiff will fairly and adequately represent and protect the interests of
22   the members of the proposed class. Counsel who represent Plaintiff are competent and
23   experienced in litigating large and complex class actions, including class actions
24   against health plans such as Cigna.
25            E.    Superiority of class action.
26            33.   A class action is superior to all other available means for the fair and
27   efficient adjudication of this controversy. Individual joinder of all members of the
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 1   proposed class is not practicable, and common questions of law and fact exist as to all
 2   class members.
 3           34.     Class action treatment will allow those similarly situated persons to
 4   litigate their claims in the manner that is most efficient and economical for the parties
 5   and the judicial system. Plaintiff is unaware of any difficulties that are likely to be
 6   encountered in the management of this action that would preclude its maintenance as a
 7   class action.
 8           F.      Rule 23(b) requirements.
 9           35.     Inconsistent or varying adjudications with respect to individual members
10   of the class would establish incompatible standards of conduct for Cigna.
11           36.     Adjudications with respect to individual class members would be
12   dispositive of the interests of the other members not parties to the individual
13   adjudications or would substantially impair or impede their ability to protect their
14   interests.
15           37.     Cigna has acted or refused to act on grounds generally applicable to the
16   class, thereby making appropriate final injunctive relief or corresponding declaratory
17   relief with respect to the class as a whole.
18                          FIRST CLAIM FOR RELIEF
           DENIAL OF PLAN BENEFITS AND FOR CLARIFICATION OF RIGHTS
19                 UNDER AN ERISA PLAN [29 U.S.C. § 1132(a)(1)(B)]
20           38.     Plaintiff and the class members repeat and re-allege each and every
21   allegation set forth in all of the foregoing paragraphs as if fully set forth herein.
22           39.     29 U.S.C. § 1132(a)(1)(B) entitles Plaintiff to recover benefits due and to
23   enforce and clarify her rights to the benefits at issue.
24           40.     As set forth above, Cigna has followed a practice of denying claims for
25   specialized liposuction for the treatment of lipedema on the basis the treatment is
26   "experimental, investigational or unproven" pursuant to Medical Coverage Policy No.
27   0531.
28   ///


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 1         41.    Pursuant to its practice, Cigna denied Plaintiff’s request for liposuction
 2   surgery to treat the symptoms of her lipedema on the basis the treatment is
 3   experimental, investigational or unproven. Contrary to Cigna’s position, specialized
 4   liposuction to treat the symptoms of lipedema is not experimental, investigational or
 5   unproven. It is the only available therapy for this condition and has been the subject of
 6   various studies that show its beneficial effect. It is routinely performed at Standford
 7   University Medical Center and other leading medical facilities.
 8         42.    Plaintiff has exhausted her administrative remedies, as alleged above.
 9         43.    Based on the foregoing, Plaintiff and the class members seek the payment
10   of medical expenses, interest thereon, a clarification of rights, and attorney fees.
11                     SECOND CLAIM FOR RELIEF
       BREACH OF FIDUCIARY DUTY AND EQUITABLE RELIEF UNDER AN
12                   ERISA PLAN [29 U.S.C. § 1132(a)(3)]
13         44.    Plaintiff and the class members repeat and re-allege each and every
14   allegation set forth in all of the foregoing paragraphs as if fully set forth herein.
15         45.    As alleged herein, Cigna has acted as an ERISA fiduciary with respect to
16   the administration and claims decisions under Cigna plans and, in particular, has acted
17   as an ERISA fiduciary in denying claims for liposuction to treat lipedema, as alleged
18   herein.
19         46.    Cigna improperly denied Plaintiff’s and the class members’ claims for
20   liposuction treatment of lipedema in beach of its fiduciary duties, as alleged herein.
21         47.    Pursuant to 29 U.S.C. § 1132(a)(3), Plaintiff and the class members seek
22   declaratory, equitable and remedial relief as follows:
23                a.     An order declaring that Cigna’s denials of claims for liposuction
24   treatment for advanced lipedema are wrong and improper;
25                b.     An injunction requiring Cigna to reevaluate and reprocess
26   Plaintiff’s and class members’ claims without the erroneous denial basis under
27   appropriate and valid medical criteria;
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 1               c.     An injunction requiring Cigna to provide notice of the reevaluation
 2   and reprocessing in the form and manner required by ERISA to all class members;
 3               d.     An accounting of any profits made by Cigna from the monies
 4   representing the improperly denied claims and disgorgement of any profits;
 5               e.     Such other equitable and remedial relief as the Court may deem
 6   appropriate; and
 7               f.     Attorneys' fees in an amount to be proven.
 8                                 REQUEST FOR RELIEF
 9         Wherefore, Plaintiff and the class members pray for judgment against Cigna as
10   follows:
11         1.    Benefits denied in an amount to be proven at trial, including interest;
12         2.    A clarification of rights to future benefits under the plan for all class
13   members;
14         3.    Injunctive and declaratory relief, as described above;
15         4.    An accounting of any profits made and retained through the improper
16   denial of claims and disgorgement of any profits;
17         5.    Attorneys' fees; and
18         6.    Such other equitable and remedial relief as the Court may deem just and
19   proper.
20   DATED: June 27, 2019                                 GIANELLI & MORRIS
21
22                                                  By:   /s/ Adrian J. Barrio
                                                          ROBERT S. GIANELLI
23                                                        JOSHUA S. DAVIS
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